Case 2:02-cr-20165-BBD Document 518 Filed 05/20/05 Page 1 of 3 Page|D 645
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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE MAY ? lt 2805
WESTERN DIVISION /\I"Tnf`;!i HOURS DEPC>S|TOR\_’

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U. S. DlST COURTerk

UNITED sTATES oF AMERICA ""' ”' OF T"" '\"E'“"H'S

v. No. 2202 cr 20165 D/A
Judge Bernice Donald

Magistrate Judge Pham
ALVIN MOSS, et al

 

ORDER ALLOWING SUBS'I`ITUTION OF
MEMORANDUM OF LAW

 

Upon oral application of Kemper B. Durand to be allowed to substitute a revised
Mernorandum of Law in lieu of an early Memorandum of Law, it is hereby ORDERED that Mr.
Durand is allowed to file a new Memorandurn of Law and that the earlier Memorandurn stamped
“Filed May 19, 2005, After Hours Depository” is withdrawn The clerk shall remove the earlier
filed Memorandum of Law and replace it with the new Memorandum of Law.

This May § 0 ,2005.

     

Bernice onelson
nited States District Judge

Approved:

THOMASON, HENDRIX, HARVEY,
JOHNSON & MITCHELL, PLLC,

 

 

Kcmpl:r B. Durand

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 518 in
case 2:02-CR-20165 was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listedl

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Honorable Bernice Donald
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